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                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

    CORNELL L. GALENTINE                                       §
    SALLIE GALENTINE,                                          §
                                                               §
            Plaintiffs,                                        §
                                                               §
    v.                                                         §     CIVIL ACTION NO. 4:22-cv-01781
                                                               §
    U.S. BANK NATIONAL ASSOCIATION,                            §
    AS TRUSTEE FOR SECURED ASSET                               §
    SECURITIES CORPORATION                                     §
    MORTGAGE LOAN TRUST 2007-RFI,                              §
    WELLS FARGO BANK, N.A.,                                    §
                                                               §
            Defendants.                                        §



                                          NOTICE OF NON-FILING


          Defendants U.S. Bank National Association, as Trustee For Secured Asset Securities

Corporation Mortgage Loan Trust 2007-RFI (“Trustee Bank”), and Wells Fargo Bank, N.A. (“Wells

Fargo”) (Trustee Bank and Wells Fargo, collectively, “Defendants”) file this Notice of Non-Filing to

notify the Court that Plaintiff Cornell L. Galentine (“Plaintiff”)1 has failed to timely respond to

Defendants’ Motion for Judgment on the Pleadings and Brief in Support (Doc. No. 34) (the “Motion

for Judgment on the Pleadings”), and respectfully show the Court the following:

          On September 7, 2023, Defendants filed and served their Motion for Judgment on the

Pleadings. (Doc. No. 34). Plaintiff’s deadline to respond to the Motion for Judgment on the Pleadings

was September 28, 2023. See SDTX LR7.3 (“Opposed motions will be submitted to the judge 21



1
 Defendants refer only to Plaintiff in this Motion for Judgment on the Pleadings. Sallie Galentine passed away during the
pendency of this lawsuit. Plaintiff, as the surviving spouse of the deceased, is the proper plaintiff in this action. (Doc. No.
18).



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days from filing. . . .”). As of the date of this filing, Plaintiff has not filed a response to the Motion

for Judgment on the Pleadings. Southern District of Texas Local Rule 7.4 authorizes this Court to

rule on the Motion for Judgment on the Pleadings and determine Plaintiff’s failure to respond to “as

a representation of no opposition.” SDTX LR7.4.

       WHEREFORE, Defendants respectfully request that the Court grant the Motion for Judgment

on the Pleadings as unopposed pursuant to Southern District of Texas Local Rule 7.4 and dismiss all

of Plaintiff’s claims with prejudice. Defendants further pray that the Court grant all other and further

relief in law or in equity to which they may be entitled.



                                               Respectfully submitted,


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                                            COUNSEL FOR DEFENDANTS


                                CERTIFICATE OF SERVICE

      The undersigned certifies that on October 4, 2023, a true and correct copy of the foregoing
document was delivered to the following via ECF consistent with the Federal Rules of Civil
Procedure:

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